          Case 2:16-cr-00113-APG-GWF Document 42 Filed 07/09/20 Page 1 of 1



 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 United States of America,                             Case No. 2:16-cr-113-APG-GWF
                                                                  2:20-cv-1088-APG
 4                       Plaintiff,
          v.
 5 Prentice Mills,                                       ORDER

 6                       Defendant.                      (ECF No. 41)

 7

 8

 9         The defendant’s motion for leave to file a reply (ECF No. 41) is granted in part. The

10 proposed reply brief is 31 pages long and thus violates Local Criminal Rule 47-2. The defendant

11 may file a reply brief limited to 20 pages as required by Rule 47-2. The reply brief is due by July

12 17, 2020.

13         Dated: July 9, 2020.
                                                        ________________________________
14                                                      ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
15

16

17

18

19

20

21

22

23
